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                IN TH E U N IT ED ST A TE S D ISTR IC T FO U R T
                     Southern D istrietofFlorida M iam iD ivision                     FILEDby                    D.C.

                                                                                        JUL 19 2213
                                                                                        STEVEN Kt(ARIMORE
  U NITED STATES O F AM ER ICA ,                                                        CLERK tjs i  a:sT.cT.
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                        PlaintiF,

                V.                           C r.C ase No:15-20545-CR-LENA RD-1

  G UILLERM O A .SA NC H EZ-BAD IA ,

                        M ovant.
  DEFEN DA NT'S M O TIO N TO D ISM ISS H IS PR EV IO U SLY FILED GM O TION TO
  C OM PEL ATTO RN EY JO EL H IR SCH H OR N TO SUR REN D ER PETITION ERSS CA SE
  FILE IN CR . CA SE N O : 15-20545-C R-LEN AR D-1;'' AS M O O T, W ITH O UT
  PR EJIJDICE
          COM ES N OW the Petitioner,Guillerm o A.Sanchez-Badiw pro se,and htzm bly moves

  this Courtto dism isshis previously fled m otion to Com pelhisprevious attom ey to surrenderthe

  case file he created in representing Petitioner in the above entitled crim inalcase.ln supportof

  thishum ble request,Petitioneravers:

          1.On June 23.2017,Petitioner filed his M otion to Com pelAttorney JoelH irshhom to

  SurrenderPetitioner'sCase File.

          2. ln response to Petitioner's M otion to Com pel... Atlom ey Joel Hirshhom has now

  surrendered three-large boxes containing Petitioner's case file to his wife,M rs.lsabel Sanchez.

  A s such,Petitioner now has access to the docum ents necessary for preparing his M em orandum

  of Points and Authorities in supportof his now -pending 2255 M otion.A ccordingly,Petitioner

   asserts that he will have his M em orandllm of Points and Authorities respectfully filed in this

   Honorable Court.on orbefore August01.20l7.
                                                  1
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        W HEREFORE,premised considered,Petitionerhumbly movesthis Courtto grantthis

  motion based on itsmerits.

  DATE:07/13/2017                                  Respectfully subm itted.

                                                                t
                                                   lsabelM .Sanchez(W ife)
                                                   Signing forG uillerm o A.Sanchez-B adia
                                                   asnextoffriend.

  DISCLO SURE:1,lsabelM .Sanchez,am sir ing this docum entas ttnextoffriend''on behalfof
  m y htlsbandsG uillerm o A .Sanchez-Badia,forthe follow ing reasons:

  l.Although legaldocum ents have been m ailed directly to Guillerm o A .Sanchez-Badia correct
  address where he is confined.the Prison M ailRoom has m isplaced his legal m ail on m ultiple
  occasions;thus,taking mslong as lo-daysfrom the date ofreceiptin which to hand hismailto
  him.Accordingly,thePrisonM ailRoomslatedeliveryplacesan undueprejudiceuponhim.As
  such, 1 humbly subm it that the D efendant. Guillerm o A . Sanchez-Badia. has given m e
  permission to signthisdocumentas''NextofFriend.''
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                                C ERT IFIC ATE O F SERV IC E
           lhereby certify thaton the 13th dayofJuly 2017,lmailedtheforegoingby U.S.M ailto
  the follow ing:
  UN ITES STATES AU ORN EY 'S OFFICE
  99 NE 4th St.
  M iam i.FL 33132

  DATE:07/13/2017                                  R espectfully subm itted.
                                                                   #           r.'


                                                   lsabelM . anchez(W ife)           .'
                                                   Signing forGuillermo A.Sanchez-Badia
                                                   as nextoffriend.


  D ISCLOSU RE:IIsabelM .Sanchezo am signing thisdocum entas 'tnextoffriend''on behalfof
  my husband,Gtzillerm o A .Sanchez-Badiw forthe following reasons:

  1.A lthough legaldocum entshavebeen m ailed directly to Guillerm o A .Sanchez-Badia correct
  address where he isconfined,the Prison M ailRoom hasm isplaced his legalm ail;thus,taking as
  long as lo-daysfrom the dateofreceiptin which to hand hism ailto him .A ccordinglyathe
  PrisonM ailRoomslatedeliveryplacesanundueprejudiceuponhim.Assuch.lhumblysubmit
  that1am forced to sign form y husband as 'tN ex'
                                                 tofFriend.n
